In re:

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

www.flsb.uscourts.gov

Josue Cepero and Leticia Cepero ;

Plaintiff

VS.

Defendant

Exhibits Submitted on

Submitted By: Michael J. Brooks, Esq, 8410 S.W 40th Street, Miarni, FL 33155, 954-859-6661

EXHIBIT REGISTER

Case No. 17-20358-LMI

Chapter 13

Adv. No.

behalf of: € Plaintiff [1 Defendant Debtor [J Other:

(name, address, and phone number)

Date of Hearing/Trial: December 30, 2021 Type of Hearing/Trial: Trial
Exhibit Number Description Admitted | Refused | Not Introduced

4 Deeds
2 Medical Reports from Frances. Pena, LCSW
3 Medical Report from Marjorie Caro, MD, PA
4 Progress Notes from Oscar Pozo, MD
5 "Tree Letter“
6 Hammocks Community Association proposed budgets
7 Association bank statement balamces
8 Hammocks community association real property
9 Hammocks Communtiy association account recievables

10 Hammocks Community Association foreclosure

411 All vehicles owned by Hammocks Community Association

12 Answers to Interrogatories

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[EXHIBIT REGISTER CONTINUATION PAGE]

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